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RE: Support Letters on Behalf of Joshua C Doolin.
US District JUdge Carl J. Nichols
Case No. 21-cr-0047-CJN-03
US District Court for the District of Columbia

Dear Honorable Judge Nichols,

I am writing this letter to you on behalf of my dear husband Joshua Christopher. My name is
Morgan Murdock Doolin. Josh and I have been together for close to 4 years and we were
married in the state of Florida just a few short months ago. Never have I loved someone so
much. He is a wonderful man and husband. My husband is a strong Christian and has been
very influential in my life by encouraging me to do what is right and to live a life worth pleasing
God. He has been my best friend when anyone else would have walked away. He is faithful,
patient, kind-hearted, and godly. He teaches me daily to be more aware of others around me by
his own character. He is always stopping to help someone and is the first to volunteer. We once
went to Savannah, Georgia and as we were walking he noticed a man working on a broken
down car while I kept walking on. He stopped to help that man get his car going again. He is so
self-less. My husband is a hard worker. Next to my dad and grandpas, I don’t think I’ve ever
seen anyone work as hard as Josh. He finishes everything he sets out to do and does it right.
Every job he has ever worked at would give him nothing but praise for his dedication and
impeccable character. Whether it’s sweating in the Florida heat, or performing CPR on a patient,
my husband gives his work his all. He decided two years ago that he wanted to be a firefighter.
He wanted to help others and be a part of an awesome team. Everyone told me right away,
“Josh is going to make such a wonderful fireman. He is so good with people.” And I also knew
he would be the best. He sacrificed to go to EMT school and graduated in the top percentile in
his class. He was awarded a scholarship by the Noah’s Army Foundation (A local organization
that pays for young people of good character to go to fire or police academy) to go to fire
academy. I was so proud of him. He spent those months training, studying, and giving it his all.
He broke records in fire academy and graduated top of his class. After graduation, Joshua was
hired at Polk County Fire Rescue. He was so happy. Joshua absolutely loved being a fireman.
He loved his job. It gave him a real sense of accomplishment and joy. In the first few weeks of
training all the recruits were put to the test- my Josh broke county training records once more. I
was beyond proud. Captains and Battalion Chiefs would pull him aside and commend him. He
told me how the chief told him, “You're going to be a Captain one day. I see it. I can already tell
what kind of a man you are and know you are going to go far with his department.” Josh was
terminated immediately on the day of his arrest. It broke his heart but we know all things work
together for good and hold on to the truth that the Lord has a plan, a will, and a way. (Romans
8:28). I could spend hours telling stories of my husband’s character but I will conclude this letter
with telling you of my husband’s patriotism. We both were raised by our parents with a huge
love for this country and the principles upon which this nation was founded. I knew as an
American history fanatic and deep patriot, I could never marry someone less patriotic as myself
and with Josh, I wouldn't need to worry about that. He is just as strong a patriot as I am.
Coming from a military family, I was taught the history of this country and loved to learn more
and more about this republic blessed by God. Joshua loves his country as I do. We love the
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sacred principles it was founded upon by our forefathers and the symbol of what our country
stands for and the beacon of hope it was to the world.

I pray for your protection Honorable Judge Nichols, and thank you for considering all this.
Thank you for your time. God Bless.

Sincerely,
Morgan Doolin.
